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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA         )       CASE NO. 07-cr-176 MCE
                                      )
12               Plaintiff,           )    GOVERNMENT'S NOTICE OF
                                      )    WITHDRAWAL OF MOTION FOR
13        v.                          )    REVOCATION OF DEFENDANT
                                      )    SAMMY L. KELSON'S PRETRIAL
14   SAMMY L. KELSON, et al.,         )    RELEASE; ORDER
                                      )    VACATING OCTOBER 24, 2008
15               Defendants.          )    HEARING ON THE MOTION
                                      )
16
17        On October 17, 2008, the government filed a motion for
18   revocation of defendant Sammy L. Kelson's pretrial release in
19   this case.    At the 2:00 calendar that day, Magistrate Judge
20   Kimberly J. Mueller arraigned Kelson on a new complaint charging
21   him with being a felon in possession of ammunition.         After
22   hearing argument and consulting with the Pretrial Services
23   Officer, the Court ordered Kelson released on an unsecured bond
24   co-signed by his father and continued until Friday, October 24,
25   2008, the government's pretrial release revocation motion in this
26   tax case.
27        The undersigned prosecutor has learned that the police
28   report's reference to selling ammunition to a minor was

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 1   erroneous, based upon the citation of an incorrect statute, which
 2   resulted in that charge description being inserted in the report.
 3   Based upon that new information and discussions with police
 4   involved in Kelson's arrest, the undersigned doubts that she can
 5   present any information to the Court that would undermine its
 6   decision last Friday.
 7        Therefore, the government hereby withdraws its motion for
 8   revocation of Sammy L. Kelson's pretrial release in this tax case
 9   and asks that the hearing on Friday, October 24, 2008, be
10   vacated.     Kelson's preliminary hearing on the new charge is
11   scheduled for November 6, 2008, at 2:00 p.m., so nothing further
12   is required in that case this Friday.          A status conference is
13   scheduled before the district court on December 18, 2008, at 9:00
14   a.m., in this tax case, so nothing further is required in this
15   case.
16   DATED:    October 22, 2008                  McGREGOR W. SCOTT
                                                 United States Attorney
17
18                                       by       /s/ Samantha S. Spangler
                                                 Samantha S. Spangler
19                                               Assistant U.S. Attorney
20
21                                       ORDER
22        Good cause appearing, the Court hereby VACATES the hearing
23   scheduled for October 24, 2008, at 2:00 p.m., on the government's
24   motion for revocation of defendant Sammy L. Kelson's pretrial
25   release.
26   DATED:    October 22, 2008
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